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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

LAURA CUEVAS, individually and
on behalf of all others similarly
situated,

        Plaintiff,

v.                                                    Case No.: 2:21-cv-340-SPC-MRM

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

        Defendant.


                         SOLICITATION OR DEBT COLLECTION
                          FAST-TRACK SCHEDULING ORDER

        Pursuant to Rule 16, the Court finds it necessary to implement a schedule

tailored to meet the particular circumstances of a case brought under one or more of

the following statutes: the Telephone Consumer Protection Act (as amended by the

Junk Fax Prevention Act) (TCPA); the Fair Debt Collection Practices Act (FDCPA);

the Real Estate Settlement Procedures Act (RESPA), the Florida Consumer Collection

Practices Act (FCCPA); and/or other state law consumer protection statutes.

Consistent with the just, speedy, and inexpensive administration of justice, it is

ORDERED that the requirements for Rule 26(a)(1)’s initial disclosures and a Rule

26(f) discovery conference, along with the filing of a case management report, are

STAYED 1 pending compliance with the following deadlines:


1
 The parties are free to stipulate to exchanging Rule 26(a)(1) initial disclosures on their own, and must
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       1.      Within SIXTY (60) DAYS of this Scheduling Order, Plaintiff 2 must

serve on Defendant all documents in Plaintiff’s possession, custody, or control that

relate to the telephone calls, faxes, text messages, letters, or other debt-

collection/solicitation activities in question including (but not limited to):

            a. telephone records, call logs, facsimile confirmations, voice recordings,

               and account notations for any telephone calls, faxes, or text messages

               Plaintiff contends Defendant made;

            b. documents showing that Plaintiff had the applicable telephone at the time

               Defendant allegedly made the telephone calls or texts in question;

            c. documents showing that Plaintiff either (i) did not consent to Defendant

               making the telephone calls or sending the text messages or faxes in

               question; and/or (ii) revoked consent before Defendant made those

               telephone calls, or sent the text messages or faxes;

            d. documents of Plaintiff’s prior complaints to Defendant about Defendant

               making the unwanted telephone calls, texts, or faxes; and

            e. for debt-collection cases, all correspondence and court documents

               pertaining to Defendant’s alleged debt-collection efforts.

       2.      Within SIXTY (60) DAYS of this Scheduling Order, Defendant must

simultaneously serve on Plaintiff all documents in Defendant’s possession, custody, or



comply immediately with Rule 7.1 and Local Rule 3.03 to file a Disclosure Statement using the form
available on the presiding judge’s webpage.
2
  If there is more than one plaintiff or defendant, the singular reference to plaintiff or defendant
includes the plural.
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control that relate to the telephone calls, faxes, text messages, letters, or other debt-

collection/solicitation activities in question, including (but not limited to):

            a. telephone records, facsimiles, call logs, and voice recordings about the

               telephone calls Plaintiff contends Defendant made, including notations

               made by Defendant’s representative or employee during the telephone

               call(s);

            b. documents showing Plaintiff consented to Defendant making the

               telephone calls, sending the text messages, or faxes in question;

            c. documents pertaining to Plaintiff’s prior complaints to Defendant about

               Defendant making the unwanted telephone calls, sending the unwanted

               text messages, or faxes; and

            d. for debt-collection cases, all correspondence and court documents

               pertaining to Defendant’s alleged debt-collection efforts.

       3.      Counsel may serve subpoenas on telecommunications entities so

accurate information may be gathered. If the parties serve subpoenas for telephone

records, they should do so as early as possible and should work together to facilitate

the process.

       4.      On or before September 6, 2021, Plaintiff must file and serve its

VERIFIED Answers to the Court’s Interrogatories. Then on or before September 19,

2021, Defendant must file and serve its VERIFIED Answers to the Court’s

Interrogatories. The Interrogatories are available on the presiding judge’s webpage and

must be filed with the Court entitled “Notice of Filing Answers to Court’s
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Interrogatories.”

       5.      This action is REFERRED to mediation. The mediation must be

conducted as outlined in this Order and pursuant to Chapter 4 of the Local Rules as

follows:

            a. Scheduling Mediation: The parties must mediate no later than November

               18, 2021. Neither party may cancel or reschedule a mediation conference

               without the Court’s permission. Motions to extend the mediation

               deadline are strongly disfavored and will be granted only in extraordinary

               circumstances. Unless otherwise agreed, the parties must bear the

               mediation expenses equally and pay immediately after the mediation.

            b. General Rules on Mediation: (1) The parties must designate a mediator and

               indicate whether the mediator is certified; (2) The parties must establish

               a mediation deadline as outlined above; (3) Lead counsel must confirm

               a mediation date agreeable to the mediator, and the parties must notify

               the presiding judge of the date by filing a Notice of Mediation at least

               FOURTEEN (14) DAYS before the mediation conference; (4) Lead

               counsel, the parties, or a party’s surrogate satisfactory to the mediator,

               and any necessary insurance carrier representative must attend

               mediation; (5) Any unexcused absence or departure from mediation is

               sanctionable; (6) The mediator must report the result of the mediation

               and whether all required persons attended mediation within SEVEN (7)

               DAYS of the mediation taking place; and (7) The substance of the
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              mediation is confidential and no party, lawyer, or other participant is

              bound by, may record, or without approval of the Court may disclose

              any event, including any statement confirming or denying a fact—except

              settlement—that occurs during the mediation.

       6.     If the case does not settle, then the parties must file—within SEVEN (7)

DAYS of the mediation—the Solicitation or Debt Collection Fast-Track Case

Management Report available on the presiding judge’s webpage. After reviewing the

Fast-Track Case Management Report, the Court will hold a preliminary pretrial

conference. Lead counsel must appear in person and be prepared to discuss the claims,

defenses, and other aspects of the case. This case will be set for trial about eight months

after the mediation conference.

       7.     The parties may consent to litigate this matter before the assigned

Magistrate Judge by filing an AO 85 form available on the Court’s website. Any party

may withhold consent with no adverse consequences.

   DONE and ORDERED in Fort Myers, Florida on this 7th day of June 2021.




CC:
All Parties of Record



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